     Case 1:12-cr-00184-DAD-BAM Document 94 Filed 09/04/14 Page 1 of 2
                                                                             (SPACE BELOW FOR FILING STAMP ONLY)
 1
           MARK W. COLEMAN #117306
 2          NUTTALL & COLEMAN
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 4

 5
     ATTORNEYS FOR Defendant,
 6
                    HERNAN CORTEZ VILLASENOR
 7

 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                                 ******
11   UNITED STATES OF AMERICA,                            CASE NO.: 1:12-CR-000184-AWI-BAM

12                   Plaintiff,
                                                                STIPULATION TO CONTINUE
13          v.                                                        SENTENCING
                                                                          AND
14
     HERNAN CORTEZ VILLASENOR,                                          ORDER
15
                     Defendant.
16

17          TO:      THE       UNITED         STATES    DISTRICT       COURT;       UNITED          STATES
18   ATTORNEY'S OFFICE and/or ITS REPRESENTATIVES:
19
            IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective
20
     clients that the Sentencing hearing currently on calendar for September 22, 2014, at 10:00 a.m.,
21
     be continued to November 3, 2014, at 10:00 a.m., or as soon thereafter as is convenient to the
22
     court’s calendar.
23
            IT IS FURTHER STIPULATED that the deadlines for the Presentence schedule,
24

25   including the filing informal and formal objections to the Pre-Sentence Investigation Report, be

26   scheduled as follows:

27                   Informal Objections to be served on or before October 13, 2014.

28                   Formal Objections to be filed on or before October 27, 2014.
                                                         1
                                        STIPULATION TO CONTINUE SENTENCING
     Case 1:12-cr-00184-DAD-BAM Document 94 Filed 09/04/14 Page 2 of 2
 1          This continuance is requested by counsel for Defendant, HERNAN VILLASENOR, due

 2   to the fact that counsel and his client need additional time to meet and review the Probation
 3   Report.
 4
               Counsel for Defendant has contacted Assistant U.S. Attorney, KAREN ESCOBAR,
 5
     who has no objection to this continuance.
 6
     Dated: September 4, 2014.            Respectfully Submitted,
 7                                        NUTTALL & COLEMAN
 8                                        /s/ Mark W. Coleman

 9                                        MARK W. COLEMAN
                                          Attorney for Defendant,
                                          HERNAN CORTEZ VILLASENOR
10

11   Dated: September 4, 2014.            UNITED STATES ATTORNEY’S OFFICE

12                                        /s/ Karen Escobar

13                                        KAREN ESCOBAR
                                          Assistant U.S. Attorney
14                                               *******
                                                 ORDER
15

16   IT IS SO ORDERED.

17   Dated:     September 4, 2014
                                                  SENIOR DISTRICT JUDGE
18

19                                        ______________________

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                                                     2
                                    STIPULATION TO CONTINUE SENTENCING
